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                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT

                                  _________________________

                                       No. 22-12696-DD
                                  _________________________

FULTON COUNTY SPECIAL PURPOSE GRAND JURY,

                                                                    Plaintiff - Appellee,

                                               versus

LINDSEY GRAHAM,
in his official capacity as United States Senator,

                                                                    Defendant - Appellant.
                                 __________________________

                                 On Appeal from the United States
                        District Court for the Northern District of Georgia
                                 __________________________

ORDER:

       Appellant’s “Motion for Clarification of the Court’s September 2, 2022 Order by Senator

Lindsey O. Graham” is GRANTED. The Court clarifies that the September 2, 2022 order limits

further submissions only with respect to the pending “Emergency Motion by Senator Lindsey O.

Graham to Stay District Court’s Order and Enjoin Select Grand Jury Proceedings Pending

Appeal.” The Appellant’s initial brief remains due October 11, 2022.



                                                                               DAVID J. SMITH
                                                               Clerk of the United States Court of
                                                                 Appeals for the Eleventh Circuit

                                               ENTERED FOR THE COURT – BY DIRECTION
